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IN TI-IE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTR_[CT OF TEXAS
TYLER DIVISION

JUNE BELT, on behalf of herself and on
behalf of all other similarly situated,

Plaintiff,

"S- eier ACTION No. 6:.03-Cv-73
(1) ErnCare, Inc.,

(2) Texas EM-I Medical Services, P.A., and
(3) St. Panl ERDocs, P.A.

.TUDGE DAVIS

WJCO'J¢O'JCOJGOF>CO'JOOJ¢O'J€OO¢U>QOQ¢O?

Defendants.

`DEFENI)ANTS' EMCARE, INC.'S AND TEXAS EM-I‘S RESPONSE IN
OPPOSI'I`ION TO PLAINTIFFS‘ MO'I`ION F.OR PARTIAL SUMMARY .IUDGMENT

Defendants, ErnCare, lnc. ("EmCare“) and Texas EM-I Medical Services, P.A. ("Texas
EM-I") (col'lectively referred to as "Defendants") hereby file their Response in Opposition to
Plaintiffs' Motion for Partial Summary Judgrnent1 and would respectfully show the Court as
follows:

I.
INTRODUCTION

Defendants EmCare and Texas EM-I jointly oppose Plaintiffs' Motion for Partial

Sunimary Judgment on several grounds First, Defendant EmCare disputes that it is or has been

 

1 Plaintiffs state in their motion for summary judgment motion that the claims of 12 Opt-in Plaintiffs from
the State of California have been resolved in connection with a settlement of the Califomia class actions
The settlement is contingent upon certain factors, and it is undetermined at this time whether the claims
vvill `be resolved in this forum or in a California court. ln the event that the contingencies related to this
settlement are not met, Defendants reserve the right to respond to any motion for summary judgment
regarding these claims, or to the extent that the Court construes this Motion to include the claims of the
California Opt~in Plaintiffs, to supplement their response With evidence specifically pertaining to those
Plaintiffs..

 

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the employer of the Named Plaintiff lune Belt (“Belt”) or any of the Opt~in Plaintiffs2 (the “Opt-
ins”) (collectively referred to as the “Plaintiffs”), and Texas EM-I disputes that it is or has been
the employer of any individuals other than Belt and the Opt-ins who have worked for Texas EM-
I in the State of Texas. Together, EmCare and Texas EM-I assert that, in fact, the Nurse
Practitioners (“NPs”) and Physician Assistants (“PAS”), by virtue of the duties they perform or
performed in the Emergency Departments in which they worked, qualify as overtime exempt
under the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201 et seq.\

Sections 541.3 and 541.314 of the FLSA regulations can be read to include NPs and PAs
as excepted from the salary basis requirement The NPs and PAs who work or have worked in
the emergency medicine setting for Texas EM-I or entities with whom EmCare has or has had a
contractual relationship are "practitioners licensed and practicing in the field of medical science
and healing" such that the salary basis exception applies. The individuals working in the
relevant emergency departments provide primary healthcare, are highly compensated
professionals, and are degreed and licensed by the state in which they practice. As Plaintiffs
must admit, job titles and descriptions are not dispositive in the context of determining if an
exemption or exception under the FLSA applies The language in § 541.3, as Well as in
§ 541.314, is sufficiently broad to cover these particular individuals Accordingly, Plaintiffs'

motion should be denied in its entirety.

 

2 Defendants dispute that Mary Taylor-Thompson is a legitimate Opt-in Plaintiff as Ms. Taylor-
Thornpson submitted her consent on March 15, which was forty days after the original deadline of
February 4, 2004 and eleven days after the extended deadline of March 5, 2004 (Court’s Docket Entry
No. 66). App. 015 Signed Consent of Mary Taylor-Thompson. Because she failed to respond in a timely
manner, her claims, if any, should not be considered as part of Plaintiffs’ motion_

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II.
ARGUMENT

A. Standard of Review

Rule 56 of the Federal Rules of Civil Procedure set forth the standard that a party moving
for summary judgment must meet. The moving party must show that there are no genuine issues
of material fact and establish each element of his or her claim as a matter of law. Fontenot v.
Upjohn Co., 780 F.2d l190, 1194 (Sth Cir. 1986). If the movant fails to do so, then summary
judgment must be denied. Id.,' FED. R. CIV. P. 56(0). ln making its determination, a court must
construe all facts in the light most favorable to the nonmovant and is bound to resolve all
reasonable doubts about the facts in favor of the nonmovants. Fierros v. Texas Dep ’t ofHealth,
274 F.3d 187, 190-91 (5th Cir. 2001). Because Plaintiffs have failed to make the required
showing, their motion must be -denied.3
B. EmCa_re. Il_l§. Does Not Emplov§\_lrse Practitioners or th§jcian Assistal_ats and

Texas EM-I Does Not Emplov Nurse Practitioners or ths@n Assistants OutsiL
of The State ()f Texas

 

As a threshold matter, EmCare and Texas EM-I must address the issue of their alleged
employer status. In Plaintiffs Motion for Partial Summary Judgment, Plaintiff fails to provide
any evidence that EmCare is an employer or joint employer with any other entity of the
Plaintiffs, that the Defendants are or have been joint employers Witli each other or that the
Defendants are the alter egos of the others. See Plaintiffs’ First Amended Complaint 1111 3-11,
15-16. The following arguments, originally urged in support of EmCare’s Motion for Summary
Judgment, clearly preclude a finding of partial summary judgment for the Plaintiffs for this

reason as there can be no finding of liability as to a non-employers 29 U.S.C. §§ 203(d) and

216(b).

 

3 Pursuant to Local Rule CV~56(b), Defendants are attaching their Statement of Genuine Issues as Exh_ A
to Defendants' Appendix.

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EmCare is not an “employer” of the Named Plaintiff lime Belt or of the Opt-in Plaintiffs
as defined by the Fair Labor Standards Act nor is Texas EM-I an employer of any individuals
other than June Belt and the Opt-in Plaintiffs Who worked for Texas EM-I in Texas. There are
four “economic realities” factors that courts analyze in the context of the FLSA when
determining whether an employment relationship exists, including the alleged employer’s:
(l) power to hire and fire; (2) supervision and control of work schedules or conditions of
employment; (3) power to determine rate and method of payment; and (4) maintenance of
employment records. Watson v. vaes, 909 F.2d .1549, 1553 (5th Cir. 1990).

As to the first factor, the power to hire and fire the Plaintiffs is vested solely with the
physician groups such as Texas EM-I. The mere fact that EmCare has provided contractual
recruitment and referral services to Texas EM-I is irrelevant to the determination whether an
employment relationship has been created. See Catam' v. Chi`oa'i, No. CIV. 00~1559 (DFW/RLE),
2001 WL 920025 (D. Minn. Aug. 13, 2001) (holding that a company was not an employer where
it processed all employment paperwork and handled all payroll functions but did not have the
authority to hire, fire, or determine the terms and conditions of employment). Furtheirnore, the
Texas EM-I employee handbook, although distributed by EmCare pursuant to a contract, clearly
states that the physician groups are the employers and not EinCare. More importantly, it is
undisputed that the physician groups have exercised their autonomy to unilaterally implement
their own policies and practices in place of those suggested in the handbook. MSJ Exh. A, 11 ll.;
Msi Exh. c, ii 3.4

As to the second factor, supervision, ErnCare’s agreements with Texas EM-I and St. Paul

ERDocs specifically states that EmCare has no right of control or supervision over medical

 

4 References to evidence attached to Defendant ErnCare, lnc.‘s earlier Motion for Suminary Judgrnent are
cited as "MSJ Exh. ___." References to evidence attached to Defendants' Response in Opposition to
Plaintiffs' Motion for Partial Sumrnary Judginent are cited as "App. (page number) (document name)."

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decisions in the emergency departments MSJ Exh. A, 1[ 4 and Tabs 1 & 3. Moreover, EmCare
has or has had no control over the hours worked by Plaintiff Belt or the Opt-in Plaintiffs. The
appropriate level of clinical coverage is determined by the Medical Directors. MSJ Exh. A, ll 15.

Likewise, there is no evidence that Texas EM-I or St. Paul ERDocs have had any control
or influence over the day-to-day operations or personnel decisions within the Emergency
Departments that these respective entities staff. From June 2001 to September 2001, St. Paul
ERDocs has had an agreement with 'l`exas EM-I for Texas EM-I to occasionally supply part-time
midlevel practitioners to St. Paul ERDocs on an as needed basis. The contract specifically states
that the midlevels provided by Texas EM-I should not be deemed to be the employee of St. Paul
.ERDocs. MSJ Exh. C, ij 16 and Tab 2. In March 2001, Texas EM-I ended its contractual
relationship with St. Paul Memorial Hospital with respect to the provision of Emergency
Department professional services, and St. Paul ERDocs entered into an agreement with the
hospital to provide these services MSJ Exh. C, 11 5 and Tab 2. Finally, there is no evidence that
anyone in management with Texas EM-l or St. Paul ERDocs has had any control or influence
regarding the operations or day-to-day hinctions of EmCare or regarding individuals employed
by entities in other states that may have contractual relationships with BmCare.

As to the third factor, determination of rate and method of pay, EmCa-re’s authority rises
only to the level of making recommendations based on its knowledge of market conditions MSJ
Exh. A, 11 9. The final authority for setting pay rates is determined by the Medical Directors,
which results in different pay structures among employees of different physician groups.
Furtherrnore, the fact that EmCare computes the payroll is not determinative of responsibility for
rate and method of pay. This authority is based in contract and rests with the physician groups

that actually fund the payroll accounts MSJ Exh. A, il 10. Similarly, there is no evidence that

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Texas EM-I has had any input or influence Whatsoever regarding the rates and method of pay for
any of the individuals employed by St. Paul ERDocs or regarding individuals employed by
entities in states other than Texas.

As to the fourth factor, employment records, EmCare necessarily keeps certain
employment records as part of its contractual obligation to provide payroll support to the
physician groups. MSJ Exh. A, ll 10. However, the other three “economic realities” factors
clearly outweigh the fourth. The maintenance of employment records is, by itself, insufficient
support for a conclusion that EmCare is a joint employer along with the physician groups See
-Chr`oa’i, 2001 WL 920025, at *7.

Finally, Plaintiffs have not produced any support for the allegation that EmCare is the
alter ego of Texas EM-I or St. Paul ERDocs Courts will not disregard corporate structure and
hold parent companies liable except where a parent company’s officers directors or
stockholders utilize that corporate entity as a sham to perpetrate fraud, shun personal liability
or for other truly exceptional situations Subway Equip. Leasing Corp. v. Sims, 994 F.2d 210,
218 (5th Cir. 1993). ln Permian Fetroleum v. Petrol'eos Mexicanos, 934 F.2d 635, 643 (5th
Cir. 1991) the Fifth Circuit held that the alter ego doctrine applies only when "there is such
unity between corporation and individual that the separateness of the corporation has ceased. .

. ." Id. at 272. Whether the alter ego doctrine applies depends on the following factors:

the total dealings of the corporation and the individual, including the degree to which

corporate formalities have been followed and corporate and individual property have

been kept separately, the amount of financial interest, ownership and control the
individual maintains over the corporation, and whether the corporation has been used
for personal purposes

Id. As the factors listed by the 'l`exas Supreme Court suggest, the alter ego doctrine generally

applies when a party seeks to hold an individual or entity liable for the obligations of a

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corporation in which the individual or entity owns stock. See Zahra Spiritual Trust v. Urii`ted
States, 910 F.3d 240, 245-46 (5th Cir. 1990). ln Zahra, the Fifth Circuit emphasized that Texas
courts will not apply the alter ego doctrine to directly or reversely pierce the corporate veil unless
one of the "alter egos" owns stock in the other. Id. at 246. There is no evidence that any of the
Defendants own stock in each other. MSJ Exh. C, jj 2; MSJ Exh. D, 11 3. Accordingly, the
application of the alter ego doctrine in this situation would be improper as a matter of law.

Furthermore, EmCare, Texas EM-I and St. Paul ERDocs are all separately incorporated,
adequately capitalized, have independent sources of business, and have separate hiring practices
and accounts receivable. MS.T Exh. A, jHl 4, 5, 10, 12, 15; MSJ Exh. C, 111 2, 9-13; MSJ Exh. D,
111[ l, 7, 1l-14. Moreover, the companies have separate ownership, directors, officers, and
management Id. Each company observes corporate formalities by keeping separate books and
accounts and holding separate meetings Id. Plaintiff’ s lack of evidence of fails to meet the heavy
burden of production required to show sham use of corporate form. See Permian Perroleum Co.,
934 F.2d at 643.

Although Plaintiff alleges that EmCare is a “joint employer” together with Texas EM~I
and St. Paul ERDocs, such a label does not bootstrap liability from the other companies to
EmCare when the “economic realities” test, as applied to EmCare, indicates that EmCare is not
an employer at all. Jeanneret v, Aron’s East Coast Towr'ng, Inc., No. 01-8001-CIV-HURLEY,
2002 U.S. Dist. LEXIS 12200, *26-27 (S.D. Fla. ]an. 29, 2002). In Jeanner'et, the court found
that a company was not an “employer” in an agreed “joint employer relationship” because the
company was not actually exercising in practice the authority reserved to it to hire, fire, and
discipline employees Ial. at *10-22. Similarly, in another opinion, the court stated that a

company was not an employer where, even though it was party to a joint employment agreement

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with another company, it did not possess the power to hire and fire. Cruz-Lovo v. Ryder Sys., 298
F. Supp. 2d 1248, 1257 (S.D. Pla. 2003). Simply put, the descriptions contained in written
agreements between companies cannot be used by plaintiffs to take a shortcut around the
economic realities test.

Partial summary judgment for the Plaintiff is inappropriate because the foundation of the
Plaintiff’ s argument-that EmCare is the Plaintiffs’ employer or joint employer»-is without
support The application of the “economic realities” test overwhelmingly provides evidence of a
genuine issue of material fact, and the alter ego allegation is without any support whatsoever.
Consequently, Plaintiff’s Motion for Partial Summary Judgment must be denied.

'C. Laintiffs Have Failed to Offer Evidence Specii“ic to Plaintiffs Other Thgn Na_n_i_gl_

Plaintiff June Belt Ll Opt-Il_l Plairgiffs Scott Freemen. David Jones. Wi]liam
Keldahl'1 Kevin Mounce and Herman Splatt

Although Defendants stipulated to the issuance of notice in this case, Defendants
specifically reserved and did not stipulate that the Plaintiffs were similarly situated or that is
matter is appropriate to proceed as a representative action. (Court’s Docket Entry 4l). This
Court has not issued an order certifying this action as a class action or stating that this action is
appropriate for treatment as a representative action. ln the absence of such an order by the Court
or a stipulation by the parties, it would be inappropriate to grant summary judgment on behalf of
Plaintiffs in the absence of evidence in the record that the Plaintiffs are all, in fact, similarly
Situated. See Mooney v. Ammico Servs. Co., 54 F.3d 1207, 1215-16 (SIh Cir. 1995) (district court
did not abuse discretion in “decertifying" class in absence of evidence that Plaintiffs were not
similarly situated). Plaintiffs argue, but fail to demonstrate, that all the Plaintiffs are subject to
professional practice statutes sufficiently similar so as to render these Plaintiffs similarly
situated Plaintiffs have failed to offer evidence regarding the nature of the duties of any of the

Plaintiffs seeking suirunary judgment other than June Belt, David Jones, Scott Freeman, Kevin

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Mounce, William Keldahl, and Leo Brazeau so as to establish that each of the Plaintiffs are
similarly situated

As the movants Plaintiffs bear the initial burden of establishing, at a minimum, those
portions of “the pleadings depositions answers to interrogatories and admissions on file,
together with affidavits if any” that they believe demonstrate the absence of a genuine issue of
material fact. Celotex Ci'oiju. v. Catr'ett, 477 U.S. 317, 323 (1986). Because they have not met
this initial burden and have not submitted competent summary judgment evidence that Would
support their motion in its entirety, Plaintiffs’ motion should be denied.

D. The L_anguage of § 541.3 and § 541.314 Does Not Exclude PAs and/or NPs From the
Salarv Basis Test Excei)tion.

The matter of whether NPS and PAs are subject to the salary basis test under the
regulations promulgated to enforce the FLSA is one of first impression for this court and would
be a matter of first impression for any other court as there are no reported or unreported
decisions resolving the matter either way. For the reasons set forth below, however, and subject
to the arguments set forth above regarding employer status and for purposes of this motion only,
Defendants assert that summary judgment is not proper because the type of licensing and the job
duties not the job titles of` the NPs and PAs at issue bring them within the Scope Of § 541.3 and
§ 541 .304.

1. Both Sections 541.3 and 541.314 Contain Language That Can Be Applied to
NPs and PAs.

As Plaintiffs note, the language in section l3(a) of the FLSA, which contains the white
collar exemptions is silent on the issue of exceptions to the salary basis requirement Section
541.3(e) of the regulations is the first place that the salary basis exception appears in the
statutory and regulatory framework This section defines the parameters of the professional

exemption in general terms lt goes on to set forth the salary requirements for an overtime

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exempt professional (one “[w]ho is compensated for services on a salary or fee basis at a rate of
not less than 3170 per week. . .exclusive of board, lodging, or other facilities”) and then sets forth
the exception “in the case of an employee who is the holder of a valid license or certificate
permitting the practice of law or medicine or any of their branches and who is actually engaged
in the practice thereof,...“ 29 C.F.R. § 541.3(e). Section 541.3(e) does not define the phrase
“any of their branches" nor does it provide an exclusive or nonexclusive list of areas of practice
that would or would not qualify.

The next time regulations address the salary basis exception is in § 541.314. The phrase
"any of their branches" appears once again in § 541 .3 14(a):

A holder of a valid license or certificate permitting the practice of law or

medicine or any of their branches, who is actually engaged in practicing the

profession, or a holder of the requisite academic degree for the general practice

of medicine who is engage in an internship or resident program pursuant to the

practice of his profession, or an employee employed and engaged as a teacher in

the activity of imparting knowledge, is excepted from the salary or fee

requirementl This exception applies only to the traditional professions of law,

medicine, and teaching and not to employees in related professions which merely

serve these professions.
The phrase “any of their branches” is undefined here or in subsections (b) or (c). While
§ 541.314(a) does explain that the exception only applies to "the traditional professions of law,
medicine and teaching and not to employees in related professions which merely serve these
professions," the last phrase of "which merely serve these professions" does not exclude NPs or
PAs on its face and necessarily requires interpretation or further definition. A slight variation of
the phrase is repeated again in § 541 .3 l4(c) as a catchall category following a list of occupations

that are not subject to the salary basis exceptions The list that does not specifically include NPs

ana PAS5.

 

5 Pharmacists, nurses, therapists, technologists, sanitarians, dieticians, social workers, psychologists,
pychometrists, or other professions which service the medical professionl

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Section 541.3l4(b) contains two subsections to describe further the exception “in the case
of medicine” (as opposed to “in the case of ‘physicians”’). Specitically, § 541.314(b) states that
“[t]he exception applies to physicians and other practitioners licensed and practicing in the field
of medical science and healing," and it is this phrase that Defendants contend correctly describes
the status of the NPs and PAs in this case. Section (b)(l) provides additional definition related to
the medical profession in particular and contains a non-exclusive list of occupations that may fall
within this category: "Other practitioners in the field of medical science and healing may
include podiatrists (sometimes called chiropodists), dentists (doctors of dental medicine),
optometrists (doctors of optometry or bachelors of science in optometry)." 29 C.F.R.
§ 541.314(b)(1). The inclusion of "bachelors of science in optometry" is significant in that the
DOL did not limit the definition of "other practitioners" only to those occupations requiring a
medical degree. Moreover, the fact that the list is non-exclusive absolutely leaves the door open
to the inclusion of other areas of practice that meet the requirement stated in subsection (b)(l).

Section 541.314(b)(2) also references “physicians and other practitioners" and notes that
participants in intemships or resident programs are excepted from the requirement as well.
Again, the reasonable conclusion to draw is that the regulations do not necessarily require a
medical degree for the exception to apply, given that the training programs are described as those
that are "entered upon after the earning of the appropriate degree required for the general
practice of their profession" as opposed to only those where a “rnedical degree” has been earned.

2. Nurses are Not Nurse Practitioners.

As mentioned above, § 541.314(c) includes a list of occupations not covered by the
exception, and nurses are in this list. However, "nurses" are a group separate and distinct from
nurse practitioners, such as those who are Plaintiffs in this suit. The licensing or certification

requirements for nurse practitioners are different from those of a registered nurse ("RN"), a

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licensed practical nurse ("LPN"), or a licensed vocational nurse (“LVN”), and the definitional
and/or preamble sections of each of the applicable state statutes or regulations set forth in
Section F-l below reveal that nurse practitioners have a practice in areas distinct from that of
traditional nursing They cannot and should not be considered the same for purposes of this
regulation

In addition, all states but one state in which Opt-in NP Plaintiffs practice require the
completion of a training program beyond the training required to hold a nursing license, and over
half of the states in which there are Opt~in NP Plaintiffs require NPs to hold a masters degree or
be certified by a national certifying organization All but three of the applicable states also
require successful applicants to pass a national exam in order receive the applicable state license
to practice'. Thus, it is clear the term “nurse” in § 541.314(c) cannot be read to mean “nurse
practitioner” when the governing statutes and regulations make it clear that nurse practitioners
are professionals that engage in a practice beyond that of nursing

E. rI`he New FLSA Regulations Contain Language That Mav Also be Rei_ld to Include
NPs and PAs.

The DOL’s discussion of the salary basis test in the preamble portion of the new
regulations set to go into effect on August 23, 2004 does not change and should not influence the
outcome in this case and do not support Plaintiffs’ arguments that summary judgment is
appropriate The language regarding the salary basis exception previously found at § 541.3(e)(l)
has been removed The language previously found in § 541.314 is now located in § 541.304 in
slightly modified form as follows:

(a) The term “employee employed in a bona fide professional capacity” in section
l3(a)(l) also shall mean:

(l) Any employee who is the holder of a valid license or certificate permitting the

practice law or medicine or any of their branches and is actually engaged in
the practice thereof; and

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(2) Any employee who is the holder of the requisite academic degree for the
general practice of medicine and is engaged in an internship or resident
program pursuant to the practice of the profession

(b) ln the case of medicine, the exemption applies to physicians and other practitioners
licensed and practicing in the field of medical science and healing or any of the
medical specialties practiced by physicians or practitioners The term “physicians”
includes medical doctors including general practitioners and specialists, osteopathic
physicians (doctors of osteopathy), podiatrists, dentists (doctors of dental medicine)
and optometrists (doctors of optometry or bachelors or science in optometry).

(c) Employees engaged in internship or resident prograrns, whether or not licensed to
practice prior to commencement of the program, qualify as exempt professionals if
they enter such internship or resident programs after the earning of the appropriate
degree required for the general practice of their profession

(d) The requirements of § 541.300 and subpart G (salary requirements) of this part do
not apply to the employees described in this section.

69 Fed. Reg. 22267.

Two revisions are particularly significant Although the phrase “any of their branches”
and the word “practitioners” are still used, the phrase “which merely serve (or service) the
profession” no longer appears. Furthermore, the nonexclusive list previously used to illustrate
the phrase “other practitioners in the field of medical science and healing” now appears in
subsection (b)(Z) with to illustrate the term “physician” instead. I-lowever, the phrase “other
practitioners” and term “practitioners” are still used and cannot be assumed to have no meaning
Clearly, if the DOL had intended for § 541..304 to include only those individuals with medical
degrees, it could have said so. If the phrase “other practitioners” originally was meant to cover
only those with medical degrees, then the DOL could have eliminated it or included language to
show whom the term or phrase was not meant to include. The DOL did not do so. The
continued use of the phrase “other practitioners” would indicate that it has meaning, and the
separate definition of “physician” suggests that “other practitioners” necessarily means

something other than “physicians.”

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The extensive history of the salary basis exception presented by the Plaintiffs is
interesting; however, a finding that NPs and PAs are covered by the salary basis exception does
not require the Court to add a “new profession” to this exception as NPs and PAs are, in fact,
engaged in the traditional profession of medicine, albeit not as individuals who possess a medical
degree. See Section I]]. inji'a. Various statutes at issue here specifically make reference to the
practice of medicine in relation to NPs or PAs. See, e.g., 18 VA. ADMIN. CODE § 90-30-120(A)
(2004) (“A licensed nurse practitioner shall be authorized to engage in practices constituting the
practice of medicine in collaboration with and under the medical direction and supervision of a
licensed physician”); KY. REV`. STAT. ANN. § 311.850(1)(e) Bender 2003) (specifically
referencing a physician assistant’s ability to “practice medicine”); TENN. COMP. R. &
REGS.0880-3.03(3) (2003) (deiining the profession of physician assistant as “one of the healing
arts ....”); W. VA. CODE § 30-3-5 (2004) (“The board shall be the sole authority for the issuance
of licenses to practice medicine and surgery and to practice podiatry and certificates for
physician assistants in this state and shall be a regulatory and disciplinary body for the practice
of medicine and surgery and the practice of podiatry and for physician assistants in this state.”).

In the preamble to the new regulations, the DOL discusses a request made by the
National Association of Chain Drug Stores (NACDS) to include pharmacists in the exception to
the minimum salary test based solely on the increased educational requirements and professional
standards for pharmacists 69 Fed. Reg. 22172. The Department gives minimal attention to the
reasons why pharmacists were not added, stating only that "the fact that the standards for the
profession are rising does not mean that the minimum salary requirement should be removed,"
without saying more. Because Defendants assert that the phraseology used in §§ 541.3 and

541 .3 14 are sufficiently broad to encompass NPs and PAs, the fact that the Department of Labor

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notes that it decided not to remove salary requirements for nurses "and others" is hardly
dispositive

The American Academy of Physician's Assistants did write a letter during the comment
period asserting that PAs perform duties that bring them within the coverage of the salary basis
test; however, the AAPA made no reference to any adverse findings or case law holding that
PAs, in fact, were not included Thus, in light of the DOL's very vague reference to "nurses and
others“ in the text of the preamble, one could not conclude that the inclusion of NPs and PAs was
specifically rejected by the DOL.

F. There is No Case Law That Direch Supports Plaintiffs’ Position.

As Plaintiffs note, the plaintiffs in Harrison v, Washington Hospiz‘al Center, 1979 U.S.
Dist. LEXIS 10063 (D.D.C. August 31, 1979), took a position on § 541.314 similar to the one
that Defendants take here. -Obviously, the most significant distinction is that the plaintiffs in
liarrison were nurses-_not nurse practitioners or physician assistants And while the
Department of Labor’s 1974 opinion letter regarding PAs lists a weekly salary of $200 as a
requirement for professional exempt status, there is no indication that the issue being addressed
was whether the salary test applied or whether the position of physician assistant as presented to
the Department of Labor qualified for exempt status period. Finally, the opinion was written at
time when the educational and licensing requirements along with the actual job duties of
physician assistants were being standardized See American Academy of Physician Assistants
“Inforrnation about PAs and the PA Profession” at http://www.aapa.org/geninfol..html;
Accreditation Review Commission on Education for the Physician Assistant, Inc. “History of the
ARC-PA” at http://www.arc-pa.org/General/historv.html.

The only case that Plaintiffs cite for the proposition that the salary exception applies only

to individuals who hold a physician’s license is hardly dispositive Close vi Srate ofNew York is

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a case from the Northern District of New York in which state agency employees claimed they
had not received overtime and had been subject to improper deductions Close v. State of New
l"ork, 1996 U.S. Dist. LEXIS 1748 (N.D.N.Y. 1996). The primary issues related to the
applicability of the FLSA to public sector employees and the issue of improper deductions from
salary, making only a passing reference to the salary basis exception being examined here. Id. at
34-35. The Texas cases cited are no more on point or helpful than Close. The Weyandt v. Srare
case was a criminal case involving a woman Who held herself out as a medical doctor to the
public, when in reality she was not licensed to practice medicine in the State of Texas. Weyandt
v. State, 35 S.W.Zd 144, 148-149 (Tex. App.--Houston [14th Dist.] 2000) '(defendant held a
doctor of medicine degree from a university in Mexico but no license to practice in Texas
although she was a Certified Registered Nurse Anesthetist (CRNA), an advanced nurse
practitioner, and a certified hypnotherapist). Brac#ord v. Alexander, 886 S.W.Zd 394 (Tex.
App.--Houston [lSt Dist.] l994), was a medical malpractice case, and the reference to physician
assistants Was related to the competency of a PA to testify as an expert under the Medical
Liability and lnsurance Improvement Act regarding the standard of care for a physician Id. at
397.

G. The Verv State Statt_ltes and Regulations that Govern the Education, Licensure and
Practice of NPs and PAs Sum)ort tile Inclusion of NPs and P_A_s in t_h£Salarv Basis

Excegtion

Plaintiffs make both sweeping and inaccurate conclusions about the state laws governing
the practice of nurse practitioners and physician assistants As demonstrated above with respect
to NPs, the statutes themselves are varied on many levels and defy broad characterizations ln
their motion and statement of material facts, Plaintiffs assume that all of the Plaintiffs are subject
to essentially the same licensing and certification requirements perform identical duties and

have the same set of skills ln addition to the fact that the Plaintiffs have not offered evidence

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that this is the case, a brief review of the statutes and regulations governing NPs and PAs reveals
that not only do the PA and NP statutes differ from each other, but the statutes and regulations
for each practice vary from state to state. Each statute or regulation requires differing levels of
training and education. The statutes provide for different levels of physician supervision, if any,
and have very different types of standards for prescriptive authority. lt can be said as a general
statement, however, that neither the applicable licensing statutes nor the testimony of some of the
Plaintiffs nor the testimony of EmCare’s Regional Medical Directors support the conclusion that
the NPs and PAs at issue “merely service the medical profession.” Thus, a review of the
applicable state statutory schemes for NPs and PAs is instructive in this analysis

1. Nurse Practitioners

Nurse practitioners are primary care providers who practice in ambulatory, acute and
long-term care settings The NPs in this lawsuit work in the following states: Arizona,
California, Florida, Georgia, Illinois, Kentucky, Maryland, Nevada, New Jersey, New Mexico,
New York, North Carolina, Pennsylvania, South Carolina, Tennessee, Texas, and Virginia. The
NPs in this lawsuit all provided or provide medical services in the emergency care setting
Generally speaking, NPs diagnose and manage acute episodic and chronic illnesses; their
services include, but are not limited to, ordering, conducting, supervising, and interpreting
diagnostic and laboratory tests and the prescription of pharmacologic agents and non-
pharmacological therapies. They practice autonomously and in collaboration with other health
care professionals

The Arizona statute governing nurse practitioners specifically refers to nurse practitioners
as professionals who “ha[ve] an expanded scope of practice that includes:...[m]aking
independent decisions in solving complex client care problems; {d]iagnosing, performing

diagnostic and therapeutic procedures prescribing, administering and dispensing therapeutic

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measuresj including legend drugs, medical devices and controlled substances within the scope of
registered nurse practitioner practice on meeting the requirements established by the board.”
ARlZ. REV. STAT. § 32-1601(15)(d)(4-5) (2004). The Georgia regulations for nurse practitioners
states that NPs “provide[] primary nursing and medical services to individuals families and
groups emphasizing health promotion and disease prevention as well as the diagnosis and
management of acute and chronic diseases.” GA. COMP. R. & REGS. r. 410-12~.03 (2004). In
New Mexico, nurse practitioners “perform an advanced practice that is beyond the scope of
practice of professional registered nursing.” N.M. STAT. ANN. § 61»3-23.2 (Michie 2004). They
“practice independently and make decisions regarding health care needs of the individual,
family, or community and carry out health regimens, including the prescription and distribution
of dangerous drugs and controlled substances included in Schedules ll through V of the
Controlled Suhstances Act [30-31-1 NMSA 1978]; and serve as a primary acute, chronic long-
term and end of life health care provider and as necessary collaborate with licensed physicians
osteopathic physicians or podiatrists.” Id. Nurse practitioners in Pennsylvania are licensed
under the State Board of Medicine and are referred to as “practitioners other than medical
doctors” 49 PA.. CODE § 18.21 (2004). The Virginia Administrative Code specifically states that
“[a] licensed nurse practitioner shall be authorized to engage in practices constituting the practice
of medicine in collaboration with and under the medical direction and supervision of a licensed
physician.” 18 VA. ADMIN\. CODE § 90-30-120(A) (2004). The Washington code states that
nurse practitioners “are prepared and qualified to assume primary responsibility and
accountability for the case of their patients.” WASH. ADMIN. CODE § 246-840-300 (2004).

The language found in the preamble or definitional sections of the applicable statutes or

regulations establishes that the NP operates at a higher level and expanded manner from that of a

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IllI{'S€Z

l. ARIZ. ADMIN. CODE § R4-l9-505 (2004) “Irz addition to the scope of practice
permitted a professional nurse, an RNP may perform the following acts in collaboration
with a physician:. ..”;

2. 16 CAL. CODE REGS. tit. 16, § 1480 (2004) “’Nurse practitioner”’ means a registered
nurse who possesses additional preparation and skills in physical diagnosis
psychosocial assessment, and management of health illness needs in primary health care,
and who has been prepared in a program [that] conforms to board standards.. ..”;

3. FLA. STAT. ch. 464.003 (2003) “’Advanced or specialized nursing practice’ means, in
addition to the practice of professional -nursing, the performance of advanced-level
nursing acts approved by the board which, by virtue of postbasic specialized education,
training, and experience are proper to be performed by an advanced registered nurse
practitioner.”;

4. GA. COMP. R. & REGS`. r. 410~12-.01 (2004) “The advanced practice registered nurse
is authorized to perform advanced nursing functions and certain medical acts which
include, but are not limited to, ordering drugs, treatments and diagnostic studies.”;

5. 225 ILL. COMP. STAT. 65/15~5 (2004) “’Advanced practice nurse’...means a person
who: (1) is licensed as a registered professional nurse. . .; (2) meets the requirements for
licensure as an advance practice nurse. . .; (3). . .has a written collaborative agreement with
a collaborating physician in the diagnosis of illness and management of wellness and
other conditions...; (4) care for patients (A) by using advance diagnostic skillsa the
results of diagnostic tests and procedures ordered by the [APN], a physician assistant, a
dentist, a podiatrist or a physician, and professional judgment to initiate and coordinate
the care of patients; (B) by ordering diagnostic tests, prescribing medications and drugs
in accordance with Section 15-2. ..; and (C) by using medical, therapeutic, and corrective
measures to treat illness and improved health status;”

6. KY. REV. STAT. ANN. § 314.011(8) UBender 2003) “’Advanced registered nursing
practice’ means the performance of additional acts by registered nurses who have gained
additional knowledge and skills through an organized postbasic program of study and
clinical experience . . .The additional acts shall.. .include but not be limited to prescribing
treatment, drugs devices and ordering diagnostic tests;”

7. MD. REGS. CODE tit. 10 § 10.27.07.02 (2004) "A nurse practitioner may perform
independently the following functions . .;"

8o NEV. REV. STAT. 632.012 (2004) “’Advanced practitioner of nursing’ means a
registered nurse who: 1. Has specialized skills, knowledge and experience; and 2. ls
authorized by the Board to provided services in addition to those that other registered
nurses are authorized to provide;” NRS 632.237 “l. The Board may grant a certificate of
recognition as an advanced practitioner of nursing to a registered nurse who has

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completed an educational program designed to prepare a registered nurse to: (a) Perforrn
designated acts of medical diagnosis; (b) Prescribe therapeutic or corrective measures;
and (c) Prescribe controlled substances, poisons, dangerous drugs and devices;”

9. N.J. REV. STAT. § 45:11-49 (2004) “In addition to all other tasks which a registered
professional nurse may, by law, perform, and advanced practice nurse may manage
specific common deviations from wellness and stabilized long-term illnesses by: (l)
initiating laboratory and other diagnostic tests; and (2) prescribing or ordering
medications and devices, as authorized by subsections b. and c. of this section;”

l(). N.M, STAT. ANN. § 61-3-23.2 (Michie 2004) “Certifred nurse practitioners may: (l)
perform an advanced practice that is beyond the scope of practice professional registered
nursing; (2) practice independently and make decisions regarding health care needs of the
individual, family or community and carry out health regimens, including the prescription
and distribution of dangerous drugs and controlled substances . .; and (3) serve as a
primary acute, chronic long-term and end of life health care provider and as necessary
collaborate with licensed medical doctors, osteopathic physicians or podiatrists;”

ll. N.Y. EDUC. Law § 6902(3)(a) (Consol. 2004) “The practice of registered
professional nursing by a nurse practitioner,.. .may include the diagnosis of illness and
physical conditions and the performance of therapeutic and corrective measures within a
specialty area of practice, in collaboration with a licensed physician. . ..;”

12. N.C. ADMIN. CODE tit. 21, r. 36.0227 (4) (_May 2004) “’Nurse Practitioner or NP’
means a currently licensed registered nurse approved to perform medical acts under an
agreement with a licensed physician for ongoing supervision, consultaticn, collaboration
and evaluation of the medical acts performed;”

13. 49 PA. CODE § 18.21 (2004) “Certifred`Registered Nurse Practitioner...--A registered
nurse licensed in this Commonwealth who, while functioning in the expanded role as a
professional nurse, performs acts of medical diagnosis ore prescription of medical
therapeutic or corrective measures in collaboration with and under the direction of a
physician licensed to practice medicine in this Commonwealt ;”

14. 22 TEX. ADMIN. CODE § 221.1(3) (2004) "The advanced practice nurse is prepared to
practice in an expanded role. . .;"

15. 18 VA. ADMIN. CODE § 90-30-120(A) (2004) “A licensed nurse practitioner shall be
authorized to engage in practices constituting the practice of medicine in collaboration
with and under the medical direction and supervision of a licensed physician;”

16. W. VA. CODE ST. R. § 19-7-2(2.1) (2004) "Advanced nursing practice is the practice
of nursing at a level which requires substantial theoretical knowledge in a specialized

area...,

17. WASH. ADMIN. CODE § 246-840-300 (2004) “An advanced registered nurse

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practitioner is a registered nurse prepared in a formal educational program to assume

primary responsibility for continuous and comprehensive management of a broad range

of patient care, concerns or problems;”

18. WIS. ADMIN. CODE § N 8.10(7) (2004) “Advance practice nurse prescribers shall

work in a collaborative relationship with a physician. The collaborative relationship is a

process in which an advanced practice nurse prescriber is working with a physician, in

each other’s presence when necessary, to deliver health care services with the scope of
the practitioner’s professional expertise.”

In many of the 20 states where the Opt-in NPs Plaintiffs practice or have practiced, the
state regulatory scheme recognizes NPs as primary care providers6 In addition, many of the
states where the Opt-ins NPs practice, NPs are permitted to practice independently7 Several of
the states permit an NP to practice without supervision,g and none of the states require on-site
supervision by a physician at all times.9 lmportantly, all of the states at issue give NPs
prescriptive authority, and five of them permit NPs to write prescriptions for certain scheduled
drugs independently.10

2. Physician Assistants

Like NPs, PAs are health care professionals licensed to practice medicine with physician
supervision11 The PAs in this case work or have worked in Arizona, California, Florida,

Georgia, Illinois, Kentucky, Nevada, New Jersey, New Mexico, New York, North Carolina,

Pennsylvania, South Carolina, Tennessee, Texas, Virginia, West Virginia, Washington and

 

6 See, e.g., 16 CAL. CODE REGS. tit. 16, § 1480 (2004); GA. COMP\. R.\ & REGS. r. 410~12-..03(2)(a) (2004);
N.M. STAT.. ANN. § 61-3»23.2 (Michie 2004); WASH. ADMIN.\ CODE § 246-840-300 (2004).

7 See, e.g., 201 KY. ADMIN. REGS.. 20:057(1-2){2003) (defining “collaboration” and “collaborative
practice agreemen ” as necessary for prescription authority only); N.M. STAT. ANN. § 61-3-23.2 (Michie
2004) (“Certified Nurse Practitioners may: \... practice independently ..); WASH.. ADMIN. CODE § 246-
840-300 (2004) (“An advanced nurse practitioner: Shall be held individually accountable for
practice \. \.”).`

8 1a

9 See, e.g., 225 ILL. COMP.\ STAT. 65/15-15 (2004) (requiring that a supervising physician be onsite at
least one time per month).

10 See, e\g., ARJZ. ADMIN. CODE § R4-l9-507 (2004}; NM\. ADMIN. CODE.\ tit.. 16, §16.12.2.13
(o)(§)(2004); wis Ar)ms. Cor>a § N 8.03 (2004).

il PAs who are employed by the federal government are credentialed to practice medicine without
physician supervision

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Wisconsin. PAs conduct physical exams, diagnose and treat illnesses, order and interpret tests,
counsel on preventative health care, assist in surgery and in virtually all states may obtain
authority to write prescriptions The PAs in this case were all practicing or practiced in the
emergency department setting

The PA profession began in the mid-l9605 when physicians and educators at Duke
University, the University of Colorado, and the University of Washington saw a shortage of
primary care physicians See Accreditation Review Commission on Education for the Physician
Assistant, Inc. “I-listory of the ARC-PA” at httD://www.arc-na.org/General/historv.html. l)r.
Eugene Stead of the Duke University Medical Center in North Carolina assembled the first class
of PAs in 1965 and based the curriculum in part on his knowledge of the fast-track training of
doctors during World War ll. American Academy of Physician Assistants “lnformation about
PAs and the PA Profession” at http://www.aapa.org/geninfol.html.. PAs are educated in
intensive medical programs accredited by the Accreditation Review Commission on Education
for the Physician Assistant and, in order to receive a license from the state in which they wish to
practice, must pass a national certification examination administered by the National
Commission for Certifrcation of Physician’s Assistants. American Academy of Physician
Assistants “lnformation about PAs and the PA Profession” at
hgp://www.aapa.orgggeninfol.html; Accreditation Review Commissicn on Education for the
Physician Assistant, Inc. “About Physician Assistants” at h§tp://www.arc-
pa.org[General/histog;.html. PAs are taught, as are medical studentsJ to diagnose and treat
medical problems PAs undergo classroom and laboratory training in basic medical and
behavioral sciences (anatomy, pharrnacology, pathophysiology, clinical medicines, and physical

diagnosis) followed by clinical relations in internal medicine, family medicine, surgery,

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pediatrics, obstetricsJ _gynecology, emergency medicine and geriatric medicine American
Academy of Physician Assistants “lnformation about PAs and the PA Profession” at
ht_tp://www.aapa.org/geninfol .html.

A review of some of the statutory language from statutes governing the licensure and
practice of PAs is also instructive The Arizona statute makes reference to the “practice of
medicine” in referring to PAs. ARIZ. REV. STAT. § 32-2551(]?)(1) (2004). The California
statute makes reference to PAs and the “practice of medicine” and also defines unprofessional
conduct for a PA as anything that would constitute unprofessional conduct for a physician or
surgeon CAL. BUS. & PROF. CODE. § 3534 and 3534.4 (2004); 16 CAL. CODE REGS. tit. 16, §
1399.521 (2004). In Georgia, PAs are issued a license from the Georgia Composite State Board
of Medical Examiners, which is the board that licenses physicians GA. COMP. R. & REGS. r.
360-5-.01, et. seq\. (2004). The Illinois statute states in its preamble that as “a matter of public
health and concern the practice as a physician assistant, .. .merit and receive the confidence of the
public....” 225 ILL. COMP. STAT. 95/1 (2004). The Kentucky statute specifically references a
physician assistant’s ability to “practice medicine.” KY. REV. STAT. ANN. § 311.850(1)(e)
(Bender 2003). ln New Mexico, PAs receive their licenses nom the New Mexico Medical Board
under the authority of the New Mexico Medical Practices Act., with the primary duty of the
Board being that of issuing licenses to qualified physiciansJ physician assistants and
anesthesiologist assistants....” N.M. STAT. ANN. § 61-6-1 G\/lichie 2004). ln addition, the New
Mexico Board includes at least one physician assistant by operation of law. N.M. STAT. ANN. §
61-6-2(A) (Michie 2004). Tennessee defines the profession of physician assistant as “one of the
healing arts ....” TENN.\ COMP. R. & REGS.0880-3.03(3) (2003). Finally, in West Virginia, PAs

are licensed under the West Virginia Medical Practices Act, as are physicians, and are governed

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by the West Virginia Medical Board. W. VA. CODE § 30-3-5 (2004) (“The board shall be the sole
authority for the issuance of licenses to practice medicine and surgery and to practice podiatry
and certificates for physician assistants in this state and shall be a regulatory and disciplinary
body for the practice of medicine and surgery and the practice of podiatry and for physician
assistants in this state.”) Of the 19 states where the PA Opt-n Plaintiffs practice or practiced, 16
states do not require onsite supervision by a physician,12 and ll states permit PAs to obtain
prescriptive authority for scheduled drugs.13

H. The_L_ic_ensure. Actual I}uties and Compensation Level of June Belt and the ODt-In

NPs and PAs Demonstrates the Exemnt NMe of Their Duties and the
Am)licabilitv of Sections 541.300 and 541.314

1.. Educational Level of Plaintiffs

As set forth in the Stein Report, the salary basis exception has its genesis in the notion
that issuance of a license to practice in field of law or medicine “may be taken as an adequate
substitute for the salary test ....” 1940 Stein Report at 42. Each of the Plaintiffs is certified to
practice under the statutory framework in the states where they work. The Plaintiffs are an
extremely educated group_67 of the Plaintiffs possess a four-year degree along with their
particular state license and national certification App. Exh. S. Of that group, 36 possess a
Masters Degree and/or some post-masters education or training Id.\ June Belt, for example,
possesses a Bachelor of Science degree in nursing, as well as a Master of Science degree in acute

care within the nurse practitioner program and possesses an ACLS (“Advanced Cardiac Life

 

12 See, e.g., ARIZ. ADMIN. CODE § R4-l7-101(l9) (2004) (“Supervision does not require a physician’s
constant physical presence if the supervising physician is or can be easily in contact with the physician
assistant by radio, telephone or telecommunication.”); 225 ILL. COMP. STAT 95!4(3) (2004)
(“Supervision of the physician assistant shall not be construed as to necessarily require the personal
presence of the supervising physician at all times at the place where services are rendered, so long as
there is communication available for consultation by radio, telephone or telecommunications \. .).

5 See, e.g., ARIZ, REV. STAT. § 32-2532 (2004); 225 lLL.\ COMP. STAT 95/7.5 (2004); N.M. STAT. AN'N.
§ 61-6-7(D) (Michie 2004); W. VA` CODE ST. R.. § ll-lB-l4 (2004)`.

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Support”) certification Others possess degrees and credentialing far beyond the minimum
required for their practice App. 69. Pamela Taggart, an Opt-in Plaintiff working in New Jersey,
possesses an associate’s degree in nursing, a Bachelor of Science degree in nursing, a Master of
Science degree in nursingJ a Baehelor of Science degree in biology and a Ph.D. in Biochemistry.
App. 119.

2. Emergency Department Duties of Plaintiffs

Not only do certain governing statutes themselves state that NPs and PAs are engaged in
the practice of medicine or are part of a profession that is one of the healing arts, the everyday
activities of the NPs and PAs employed by Texas EM-I or those employed in other states by
other entities related to EmCare, Inc., are those of primary care providers NPs and PAs are
utilized and work in a manner and capacity separate and distinct from that of nurses. App. 039-
040 Hermann Splatt Dep. 34:12-25 35 : l; App. 044-046 William Keldahl Dep. 27-29; App. 049-
-050 Kevin Mounce Dep. 38-40; 44:18-25; Appo 037 Scott Freeman Dep. 38-39; App. 041-042
David Jones Dep. 61»62; App. 052-053 Leo Brazeau Dep. 52-53; App. 034-035 June Belt Dep.
86:]7-25; 8711-9.

While the physicians in the emergency department may have the ultimate responsibility
for the care of a patient, in everyday practice, the NPs and PAs at issue perform duties that the
public normally recognizes as duties to be performed by a physician, including examining
patients, formulating diagnoses, developing and implementing treatment plans, performing minor
surgeries, assisting in place of a second physician in major surgeries, ordering laboratory tests
and X-rays and prescribing controlled and/or regulated drugs and devices. ln many Emergency
Departrnents, NPs and PAs function as the principal care providers, with physicians seeing only
the most egregious cases. In addition, the NPs and PAs routinely direct the activities of the nurse

staff to assist them in their duties. See App. Eth. F, G, H, I, and J.

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3. Annual Compensation of Plaintiffs

rlhe Plaintiffs in the instant action are or were highly compensated individuals App.
122-191 Salary Data for Opt-in Plaintiffs ln 2001, of the Opt-in Plaintiffs who worked a full
year, over 45% earned over $70,000. Of this group, nearly half of them earned over $100,000 a
year. In 2002, for those worked a full year, over 37% earned over $80,000, and of that group
almost half of them earned over 3100,000. In 2003, 34% of those working a fiill year earned
over $80,000, and exactly half of that group earned over $100,000. The Department of Labor
has made much of the fact that a high level of compensation is indicative of exempt status and
has made allowances for highly compensated individuals in the new regulations at § 541.601
(“[a] high level of compensation is a strong indicator of an employee’s exempt status,...”), 69
Fed. Reg. 22269, and it certainly cannot be said that the Plaintiffs do not fall squarely in that
category.

I. The Department of Labor Has Not Communicated to Emcare 'I`hat it Believes

EmCare Employs NPs or PAs or T hat EmCare or any Related Entity I-Ias Violated
the FLSA with Respect to NPs or PAs

 

Plaintiffs misstate the facts in their motion regarding EmCare’s knowledge of the
Department of Labor’s conclusions after their investigations of EmCare. EmCare strongly
disputes Plaintiffs’ statements or inferences that the Department of Labor ever indicated to
EmCare, orally or in Writing, that it was in violation of the FLSA regarding NPs and PAs.
Plaintiffs incorrectly state or suggest that there have been three investigations of EmCare by the
Department of Labor. In June 2001, EmCare received a letter from Perry Lopez, an investigator
in the Arlington, Texas office of` the Department of Labor, indicating the Department's desire to
conduct a compliance inquiry. Plaintiffs' App. Ex. 3. Through counsel, EmCare subsequently
sent a letter to Mr. Lopez asserting that EmCare, Inc. was not the employer of any NPs or PAs,

and also asserting that NPs and PAs fall under the salary exception found in 29 C..F.R. § 541 .314.

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App. 61.1 Craig Wilson Dep. 93:4-10; Plaintiffs' App. Ex. 3. Mr. Lopez subsequently advised
EmCare, through counsel, in early 2002 that the Department of Labor was closing its file on the
matter and that the file was being sent back to the originating Department of Labor office in
South Carolina. Id. at 91 :24-25, 92:1-6.

ln the fall of 2002, the Department of Labor once again contacted EmCare, Inc. This
time, the contact was made by Investigator Tomi Jo Stefanos of the Arlington, Texas office in
the form of a very standard letter asking for EmCare to make available for review its payroll
records, etc. App. 016-017 Craig Wilson Decl. il 3. In late fall 2002, Ms. Stefanos visited the
EmCare corporate offices, where the payroll records were made available to her for review. -Id.
at 11 3. Ms. Stefanos met with Donald King, Director of Human Resou'rces for EmCare and Craig
Wilson, in-house counsel for EmCare. App. 064 Don King Dep. 33; App. 016-017 Craig Wilson
Decl. 11 3. Ms. Stefanos explained that the investigation was initiated because of a complaint
made by a June Belt, a nurse practitioner and fenner employee of Texas EM-I. App. 016-017
Craig Wilson Decl. 1[ 3.` Although Ms. Stefanos explained the nature of the complaint by Ms.
Belt, she did not state at that time that she believed EmCare was Ms. Belt’s employer nor did she
state that she found EmCare to be in violation of the FLSA. App. 055 Craig Wi_lson Dep. 23;
App. 017 Craig Wilson Decl. 11 4. On or about February 27, 2003, Ms. Stefanos called Mr. King
with a follow-up question or two and some questions about recommendations for her upcoming
trip to Hawaii. App. 018 Don King Decl. 11 2. At no time during that conversation did Ms.
Stefanos indicate what her findings or recommendations were with regard to EmCare or with

respect to any NPs or PAs App. 018 Don King Decl. 1[ 2.

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J. Defendants_are not Liable to Plaintiffs Under Washington or lllinois State Law

For the same reasons and based on the same evidence referenced herein, Defendants are
not liable to Plaintiffs under the Illinois Minimum Wage Law, ILL ST. CH. 820 § 105/4a, or the
Washington Minimum Wage Act, ARCW §49.46.010 (2004); WAC 296-128-530 (2004).

III.
CONCLUSION

Plaintiffs have failed to establish that EmCare is or has been the employer of the
Plaintiffs in this case and that EmCare could be subject to the provisions of the FLSA with
regard to the Plaintiffs Plaintiffs have also failed to establish as a matter of law that EmCare,
Texas EM-l and St. Paul ERDocs are joint employers or alter egos of each other such that they
could be held liable to all of the Plaintiffs in this case. Even assuming that Plaintiffs could
establish EmCare is a employer andfor that Texas EM-I is the employer of any Plaintiffs other
than those working in Texas, genuine issues of material fact still exists regarding the application
of the salary basis exception to PAs and/or NPs. Even giving deference to the DOL’s
interpretation of its own regulations the language of § 541.3 and § 541.314 can be read to cover
NPs and PAs--a result supported by the rules of statutory construction, the statutory and
regulatory language related to N?s and PAs in the relevant states, and the actual licensure and
duties of the Opt-in Plaintiffs_and Plaintiffs have failed to put in the record competent summary
judgment evidence that would support granting their motion as to all Plaintiffs Accordingly,

Plaintiffs’ motion should be denied.

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Respectfully submitted,

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AT'I`ORNEYS' FOR DEFENDANTS
EMCARE, INC. AND TEXAS EM-I
MEDICAL SERVICES, P.A.

CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of the foregoing document has been served
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IN THE UNITED STATBS DISTR_ICT COURT
FOR TI-IE EASTERN DISTRICT OF TEXAS
TYLER DIVISION

IUNE BELT, on behalf of herself and on
behalf of all other similarly situated,

Plaintiff,
vs.
(1) EmCare, Inc.,
(2) Texas EM-I Medical Services, P.A., and
(3) St. Paul ERDocs, P.A.

Defendants

CIVIL ACTION NO. 6:03-CV-73

JUDGE DAVIS

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DEFENDANTS' EMCARE, INC.'S AND TEXAS EM-I'S RESPONSE IN
OPPOSITION TO PLAIN'I`IFFS' MOTION FOR PARTIAL SUMMARY JUDGMENT

Respectfully submitted,

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EMCARE, INC. AND TEXAS EM-l MEDICAL
SERVICES, P.A.

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